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1    defendant will obstruct or attempt to obstruct justice, or threaten, injure, or

2    intimidate a prospective witness or juror, or attempt to do so.

3          The Court concludes that the Government is not entitled to a

4    rebuttable presumption that no condition or combination of conditions will

5    reasonably assure the defendant’s appearance as required and the safety or

6    any person or the community [18 U.S.C. § 3142(e)(2)].

7          The Court finds that no condition or combination of conditions will

8    reasonably assure:

9                ‫ ܈‬the appearance of the defendant as required.

10               ‫ ܈‬the safety of any person or the community.

11         The Court has considered the following:

12         (a) the nature and circumstances of the offense(s) charged, including

13         whether the offense is a crime of violence, a Federal crime of terrorism,

14         or involves a minor victim or a controlled substance, firearm, explosive,

15         or destructive device;

16         (b) the weight of evidence against the defendant;

17         (c) the history and characteristics of the defendant; and

18         (d) the nature and seriousness of the danger to any person or the

19         community.

20   See 18 U.S.C. § 3142(g) The Court also considered the Indictment and the

21   Report and Recommendation of the U.S. Pretrial Services Agency.

22         The Court bases its conclusions on the following:

23         As to risk of non-appearance:

24               ‫܈‬      History of probation and parole violations;

25               ‫܈‬      Extensive criminal record;

26               ‫܈‬      Current incarceration;

27               ‫܈‬      Substance abuse history and mental health concerns;

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                                             2
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1                ‫܈‬     No ties to the Central District of California and no viable

2    bail resources;

3                ‫܈‬     The alleged offense.

4          As to danger to the community:

5                ց     Extensive criminal history;

6                ց     History of violence;

7                ց     Previous gang ties;

8                ‫܈‬     Current incarceration;

9                ‫܈‬     Extensive substance abuse history;

10               ‫܈‬     The alleged offense.

11         It is therefore ORDERED that Defendant be detained until trial.
12   The defendant will be committed to the custody of the Attorney General
13   for confinement in a corrections facility separate, to the extent
14   practicable, from persons awaiting or serving sentences or being held in
15   custody pending appeal. The defendant will be afforded reasonable
16   opportunity for private consultation with counsel. On order of a Court
17   of the United States or on request of any attorney for the Government,
18   the person in charge of the corrections facility in which defendant is
19   confined will deliver the defendant to a United States Marshal for the
20   purpose of an appearance in connection with a court proceeding. See
21   18 U.S.C. § 3142(i).
22   Dated: March 31, 2021
23
24                                     PATRICIA DONAHUE
                                   _______________________________
25                                 PATRICIA DONAHUE
                                   UNITED STATES MAGISTRATE JUDGE
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